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                                    6
                                    7                                  UNITED STATES DISTRICT COURT
                                                                           DISTRICT OF ARIZONA
                                    8
                                                Juana Mares Figueroa, in her individual                  Case No. 4:23-cv-00129-TUC-LCK
                                    9           capacity,
                              10
           2572 W. State Rd. 426, Suite




                                                      Plaintiff,
                              11
                                                v.
Spire Law, LLC




                              12
                              13                Serenity Luxury Living, LLC, an Arizona
                      2088




                                                limited liability company, Giselle
                              14                Auditore, a proprietor /statutory agent,.
                                                Giselle Vasquez, proprietor/ statutory
                              15                agent, Giselle Auditore, in her individual
                              16                capacity, John Doe Auditore and Giselle
                                                Auditore, husband and wife, Giselle
                              17                Vasquez in her individual capacity, John
                                                Doe Vasquez and Giselle Vasquez,
                              18                husband and wife;
                              19
                                                      Defendants.
                              20
                              21                                                             /
                              22
                              23
                                                                    DEFENDANTS’ ANSWER AND DEFENSES
                              24                                        TO PLAINTIFF’S COMPLAINT
                              25                 Defendants, Serenity Luxury Living LLC, Giselle Auditore, and Giselle Vasquez,
                              26
                                          (hereinafter “Defendants”) answers the Complaint filed by Plaintiff, Juana Mares Figueroa
                              27
                                          (“Plaintiff”), in correspondingly numbered paragraphs as follows:
                              28
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 1                                          I. NATURE OF ACTION

 2   1.     Defendants admit that this action alleges that they violated the FLSA, but Defendants deny
 3   that they violated the FSLA as alleged in Paragraph 1 of the Complaint.
 4
                                               II. PARTIES
 5
     2.     Defendants are without sufficient knowledge or belief to admit or deny the allegations and,
 6
 7   therefore, deny the allegations set forth in Paragraph 2 of the Complaint.

 8   3.     Defendants admit the allegations set forth in Paragraph 3 of the Complaint.
 9   4.     Defendants admit the allegations set forth in Paragraph 4 of the Complaint.
10
     5.     Defendants are without sufficient knowledge or belief to admit or deny the allegations and,
11
     therefore, deny the allegations set forth in Paragraph 5 of the Complaint.
12
13   6.     Defendants admit the allegations set forth in Paragraph 6 of the Complaint.

14   7.     Defendants admit the allegations set forth in Paragraph 7 of the Complaint.
15   8.     Defendants admit the allegations of Paragraph 8 of the Complaint.
16
     9.     Defendants are without sufficient knowledge or belief to admit or deny the allegations and,
17
     therefore, deny the allegations set forth in Paragraph 9 of the Complaint.
18
19                                 II. JURISDICTION AND VENUE

20   10.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
21   deny, and, therefore, denies the allegations of Paragraph 10 of the Complaint.
22
     11.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
23
     deny, and, therefore, denies the allegations of Paragraph 11 of the Complaint.
24
25   12.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor

26   deny, and, therefore, denies the allegations of Paragraph 12 of the Complaint.
27   13.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
28



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1    deny, and, therefore, denies the allegations of Paragraph 13 of the Complaint.

2    14.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
3    deny, and, therefore, denies the allegations set forth in Paragraph 14 of the Complaint.
4
     15.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
5
     deny, and, therefore, denies the allegations set forth in Paragraph 15 of the Complaint.
6
7    16.     Defendants admit for jurisdiction purposes but otherwise deny the allegations set forth in

8    Paragraph 16 of the Complaint.
9    17.    Defendants admit for jurisdiction purposes but otherwise deny the remaining allegations
10
     set forth in Paragraph 17 of the Complaint.
11
     18.    Defendants admit for jurisdiction purposes but otherwise deny the remaining allegations
12
13   set forth in Paragraph 18 of the Complaint.

14   19.    Defendants admit for jurisdiction purposes but otherwise deny the remaining allegations
15   set forth in Paragraph 19 of the Complaint.
16
     20.    Defendants admit for jurisdiction purposes but otherwise deny the remaining allegations
17
     set forth in Paragraph 20 of the Complaint.
18
19   21.    Defendants admit for venue purposes as set forth in Paragraph 21 of the Complaint.

20                                  IV. GENERAL ALLEGATIONS
21   22.    Defendants deny the allegations set forth in Paragraph 22 of the Complaint.
22
     23.    Defendants deny the allegations set forth in Paragraph 23 of the Complaint.
23
     24.    Defendants deny the allegations set forth in Paragraph 24 of the Complaint.
24
25   25.    Defendants deny the allegations set forth in Paragraph 25 of the Complaint.

26   26.    Defendants deny the allegations set forth in Paragraph 26 of the Complaint.
27   27.    Defendants deny the allegations set forth in Paragraph 27 of the Complaint.
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1    28.    Defendants deny the allegations set forth in Paragraph 28 of the Complaint.

2    29.    Defendants deny the allegations set forth in Paragraph 29 of the Complaint.
3    30.    Defendants deny the allegations set forth in Paragraph 30 of the Complaint.
4
     31.    Defendants admit the allegations set forth in Paragraph 31 of the Complaint.
5
     32.    Defendants deny the allegations set forth in Paragraph 32 of the Complaint.
6
7    33.    Defendants deny the allegations set forth in Paragraph 33 of the Complaint.

8    34.    Defendants deny the allegations set forth in Paragraph 34 of the Complaint.
9    35.    Defendants deny the allegations set forth in Paragraph 35 of the Complaint.
10
     36.    Defendants deny the allegations set forth in Paragraph 36 of the Complaint.
11
     37.    Defendants deny the allegations set forth in Paragraph 37 of the Complaint.
12
13   38.    Defendants deny the allegations set forth in Paragraph 38 of the Complaint.

14   39.    Defendants deny the allegations set forth in Paragraph 39 of the Complaint.
15   40.    Defendants deny the allegations set forth in Paragraph 40 of the Complaint.
16
     41.    Defendants deny the allegations set forth in Paragraph 41 of the Complaint.
17
     42.    Defendants deny the allegations set forth in Paragraph 42 of the Complaint.
18
19   43.    Defendants deny the allegations set forth in Paragraph 43 of the Complaint.

20                                              COUNT I
                               Violation of the FLSA Overtime Provision
21                                        29 U.S.C. § 207(a)(1)
22
     44.    Defendants repeat and incorporate responses set forth above, as if fully set forth herein. 44
23
     45.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
24
25   deny, and, therefore, denies the allegations set forth in Paragraph 45 of the Complaint.

26   46.    Defendants deny the allegations set forth in Paragraph 46 of the Complaint.
27   47.    Defendants deny the allegations set forth in Paragraph 47 of the Complaint.
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1    48.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor

2    deny, and, therefore, denies the allegations of Paragraph 48 of the Complaint.
3    49.    Defendants deny the allegations set forth in Paragraph 49 of the Complaint.
4
     50.    Defendants deny the allegations set forth in Paragraph 50 of the Complaint.
5
     51.    Defendants deny the allegations set forth in Paragraph 51 of the Complaint.
6
7    52.    Defendants deny the allegations set forth in Paragraph 52 of the Complaint.

8    53.    Defendants deny the allegations set forth in Paragraph 53 of the Complaint.
9    54.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
10
     deny, and, therefore, denies the allegations of Paragraph 54 of the Complaint.
11
     55.    Defendants deny the allegations set forth in Paragraph 55 of the Complaint.
12
13   56.    Defendants deny the allegations set forth in Paragraph 56 of the Complaint.

14   57.    Defendants deny the allegations set forth in Paragraph 57 of the Complaint.
15                                             COUNT II
16                           Violation of the Arizona Minimum Wage Act
                                         A.R.S. § 23-362 et seq
17
     58.    Defendants repeat and incorporate responses set forth above, as if fully set forth herein. 58
18
19   59.    Defendants deny the allegations set forth in Paragraph 59 of the Complaint.

20   60.    Defendants deny the allegations set forth in Paragraph 60 of the Complaint.
21   61.    Defendants deny the allegations set forth in Paragraph 61 of the Complaint.
22
     62.    Defendants deny the allegations set forth in Paragraph 62 of the Complaint.
23
     63.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
24
25   deny, and, therefore, denies the allegations of Paragraph 63 of the Complaint.

26   64.    Defendants deny the allegations set forth in Paragraph 64 of the Complaint.
27   65.    Defendants deny the allegations set forth in Paragraph 65 of the Complaint.
28



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1    66.    Defendants deny the allegations set forth in Paragraph 66 of the Complaint.

2    67.    Defendants deny the allegations set forth in Paragraph 67 of the Complaint.
3    68.    Defendants deny the allegations set forth in Paragraph 68 of the Complaint.
4
     69.    This Paragraph sets forth a legal conclusion for which Defendant can neither admit nor
5
     deny, and, therefore, denies the allegations of Paragraph 69 of the Complaint.
6
7                                        PRAYER FOR RELIEF

8           Defendants deny all allegations and/or entitlement to relief set forth in the unenumerated
9    WHEREFORE paragraph, including subsection A-F, following Paragraph 69 in the Complaint.
10
                                          GENERAL DENIAL
11
            All allegations not expressly admitted are denied.
12
13                                      JURY TRIAL DEMAND

14          Defendants demand trial by jury on all issues so triable.
15                                 ATTORNEYS FEES AND COSTS
16
            Defendants affirmatively assert their entitlement to attorneys’ fees and costs per A.R.S. §§
17
     12-341.01 and 12-341, and any other applicable law or authority.
18
19                                    AFFIRMATIVE DEFENSES
20
21                                      First Affirmative Defense

22          Plaintiff’s claims are barred, in whole or in part, because Plaintiff did not work the hours
23   claimed.
24
                                       Second Affirmative Defense
25
            Plaintiff’s claims are barred because all wages due were paid.
26
27                                     Third Affirmative Defense

28          Plaintiff’s claims are barred by the doctrine of accord and satisfaction, intention to make a



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1    gift, estoppel, mistake, failure of consideration, lack of formation, lack of acceptance,

2    impossibility, impracticability, ratification, release, statute of frauds, payment, or waiver.
3                                       Fourth Affirmative Defense
4
            Plaintiff’s claims are barred, in whole or in part, on the basis of Plaintiff’s own failure to
5
     mitigate.
6
                                     Fifth Affirmative Defense
7
            Defendants were not reckless and did not show a reckless disregard for whether their
8
     conduct was prohibited by the FLSA; accordingly, the two-year statute of limitation applies.
9
10                                        Sixth Affirmative Defense
11
            Plaintiff’s claims are barred based on the doctrines of estoppel, laches, or unclean hands.
12
13                                      Seventh Affirmative Defense

14          Because Plaintiff’s Complaint is phrased in vague and conclusory terms, Defendants

15   cannot fully anticipate all defenses which may be applicable to this action. Accordingly, the right

16   to assert additional defenses, to the extent such defenses are applicable, is hereby reserved.

17
            Dated this 21st day of August, 2022.
18
19                                                  Respectfully submitted,
                                                    Spire Law, LLC
20
                                                    2572 W. State Road 426, Suite 2088
21                                                  Oviedo, Florida 32765

22                                                  By: /s/Whitney M. DuPree
                                                        Whitney M. DuPree, Esq.
23
                                                        Arizona Bar No. 035061
24                                                      whitney@spirelawfirm.com
                                                        sarah@spirelawfirm.com
25                                                      filings@spirelawfirm.com
26
                                                    Attorney for Defendants | Serenity Luxury Living
27                                                  LLC, Giselle Auditore, and Giselle Vasquez
     Original electronically filed
28   this 21st day of August, 2023, to:



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